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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                        REPORT & RECOMMENDATION
                           Plaintiff,
                                                                        11-CR-6083CJS
                  v.

JAMES HENRY McAULEY, JR.,

                           Defendant.



                                        PRELIMINARY STATEMENT

                  On February 4, 2014, this Court issued an Amended Report and Recommendation

addressing motions by defendant James McAuley, Jr. (“McAuley”) to dismiss the indictment and

to suppress statements and tangible evidence. (Docket # 471). The Court reserved decision on

McAuley’s motions to suppress statements made and tangible evidence seized during his arrest

on November 19, 2003, pending a further evidentiary hearing. (Id.). This Report and

Recommendation addresses those motions.



                                         FACTUAL BACKGROUND

I.       Prior Proceedings

                  Familiarity with this Court’s February 4, 2014 Amended Report and

Recommendation1 (the “Report and Recommendation”) is assumed. The factual findings therein


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           The report and recommendation was originally issued on January 17, 2014, and scheduled the further
evidentiary hearing on February 4, 2014. (Docket # 462). Immediately following the scheduled appearance on
February 4, the Court issued the amended report and recommendation correcting the first full paragraph on page 2 of
the original opinion. Other than the modification of that paragraph, the amended opinion is identical to the original
opinion.
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remain unchanged and will only be summarized as relevant to the issues addressed in this

opinion.

               In the Report and Recommendation, I concluded that the government had failed to

establish that McAuley consented to a search of his person on November 19, 2003, and

recommended that the district court grant his motion to suppress statements he made during that

search. (Docket # 471 at 39-52). I determined that a further hearing was warranted to develop

the record in order to make a recommendation on McAuley’s motions to suppress the

methamphetamine found during the search and his post-search statements. (Id. at 48-54).

Specifically, I found that the record was not adequately developed to permit me to conclude

whether, applying the doctrine of inevitable discovery, probable cause existed to arrest McAuley

and whether McAuley would actually have been arrested in the absence of the discovery of the

drugs (methamphetamine and marijuana) and the admissions made during the search. (Id. at

48-52). With respect to the post-search statements, I concluded that the record was likewise

insufficient to make a recommendation on suppression of any statements. (Id. at 53).

               This Court ordered the hearing to continue on February 4, 2014 “[i]n order to

ascertain the information necessary to properly determine the applicability of the inevitable

discovery doctrine to the facts of this case.” (Id. at 52). On the date of the scheduled hearing, the

government informed the Court for the first time that it would not be presenting any additional

testimony to supplement the record. (Docket # 472 at 2). The government explained that,

contrary to the Court’s understanding of the government’s position, it was not relying on the

doctrine of inevitable discovery. (Id. at 3). Rather, it was contending that (1) even before Marx

searched McAuley, probable cause existed to arrest McAuley for operating a vehicle with a


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measurable amount of controlled substance metabolite in his system, in violation of Utah Code

§ 41-6a-517 (“DUI metabolite”); (2) Marx’s search of McAuley was justified as a search incident

to arrest even though it occurred before McAuley was formally arrested, see Rawlings v.

Kentucky, 448 U.S. 98, 111 (1980) (“we do not believe it particularly important that the search

preceded the arrest rather than vice-versa” where probable cause to arrest existed); (3) because

the search was not unlawful, the doctrine of inevitable discovery did not apply; and (4) the

question of whether Marx would have arrested McAuley for DUI metabolite was therefore

irrelevant. (Id. at 3-4, 11-13, 24-25).

               The government argues that the issue of suppression of any post-search or

post-arrest statements – like the issue of suppression of the methamphetamine – turns entirely on

the issue of probable cause to arrest for DUI metabolite. Indeed, during the February 4 court

appearance, the government expressly disavowed reliance on the attenuation doctrine to justify

admission of the statements. (Id. at 18; Docket # 470). In other words, the government concedes

that if McAuley’s arrest was unlawful, his statements must be suppressed as fruit of that unlawful

arrest.

               Considering the government’s explicit disavowal of both the inevitable discovery

and attenuation doctrines, this Court declines to give any further consideration to those

principles. Even if the government is correct that the only material issue is whether probable

cause to arrest McAuley for DUI metabolite existed at the time McAuley was searched, the

government still bears the burden of establishing that proposition. For the same reasons that I

previously articulated, I find that the government has not met its burden.




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               During the February 4 court appearance, this Court reiterated the view expressed

in the Report and Recommendation that the record is not sufficiently developed to determine the

issue of probable cause to arrest. (Docket # 472 at 26-27). Specifically, the Court noted that the

record lacks testimony from which to determine whether a reasonable officer, with Marx’s

experience and training in the recognition of persons under the influence of drugs, would have

found probable cause to arrest McAuley prior to searching him. (Id. at 4-5, 28-29). In response

to the Court’s observations, the government asked to adjourn the hearing that had been scheduled

for February 4, 2014 to offer further testimony from Marx. Over McAuley’s objection, the Court

granted the adjournment and scheduled the hearing for March 12, 2014. (Docket # 484).

               By letter dated March 10, 2014, the government informed the Court that it was

withdrawing its request to present additional testimony. (Docket # 500). Therefore, this Court

will address the suppression motions on the record before it.



II.      Factual Background

               The testimony elicited from Marx, the sole witness at the earlier evidentiary

hearing on October 12, 2012, is described in detail in the Report and Recommendation and will

not be repeated herein. In addition to that summary of Marx’s testimony, the following

testimony is relevant to the issues addressed in this opinion.

               Marx did not testify concerning the substance of the training he received in order

to become a certified drug recognition expert, nor did he provide any detailed testimony about his

experience or skills in that position. When Marx first approached McAuley, in addition to his

observations that McAuley appeared fidgety and nervous, had dilated pupils and was slurring his


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speech, Marx also noted that his balance appeared to be “good.” (Tr. 12, 19, 51, 54). While

Marx testified that dilated pupils, particularly during daylight hours, may indicate drug use

(Tr. 19, 65, 69-70), he also testified that a person may have dilated pupils or slurred speech for

reasons unrelated to drug use and that individuals are often nervous when approached by a law

enforcement officer (Tr. 40-41, 71). Marx testified that “as a [drug recognition expert] you know

either a stimulant or marijuana is in his system based on his eyes.” (Tr. 65).

                  Marx did not testify about whether he believed prior to searching McAuley that

McAuley was operating a vehicle with a measurable amount of controlled substance metabolite

in his system. Although much of his redirect and recross examination concerned whether he

would have arrested McAuley had he discovered the marijuana roach at McAuley’s feet,2 the

prosecutor asked Marx one question that may have been intended to explore whether Marx

would have arrested McAuley if neither drug had been discovered:

                  Q:       If Mr. McAuley had told you he did not permit you to
                           search him for the drugs and weapons as you had asked,
                           would you have seized the methamphetamine in the
                           envelope from his pocket?

(Tr. 72). Marx responded:

                  A:       I believe so, yes. Based on the dilated pupils and the way
                           he was acting, there would have been suspicion of drug
                           metabolite use at a minimum, and I would have followed up
                           that way doing tests and requesting – he probably would
                           have been charged with that and we would have – they
                           were on his person.

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           At the time of the hearing, the Court anticipated that the government might argue that the discovery of the
marijuana roach was lawful. In the Report and Recommendation, this Court found that the reasonable inference
from the hearing was that the marijuana roach fell out of McAuley’s pocket during the course of Marx’s search.
(Docket # 471 at 44-45). At the February 4 court appearance, the government agreed with that finding. (Docket
# 472 at 17 (“[O]n that issue I think the Court came to the only fair conclusion, is that it must have come out during
the search because I couldn’t – I couldn’t establish otherwise, frankly”)).

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(Tr. 72-73 (emphasis added)). Marx’s testimony, which is somewhat unclear,3 strongly suggests

that Marx would have engaged in some type of testing before arresting McAuley for DUI

metabolite had he not discovered the drugs.



                                                 DISCUSSION

                  Probable cause to arrest exists when the arresting officer has “knowledge or

reasonably trustworthy information of facts and circumstances that are sufficient to warrant a

person of reasonable caution in the belief that the person to be arrested has committed or is

committing a crime.” United States v. Delossantos, 536 F.3d 155, 158 (2d Cir.) (internal

quotations omitted), cert. denied, 555 U.S. 1056 (2008). The Supreme Court has counseled that

the probable cause standard is “a ‘practical, nontechnical conception’ that deals with ‘the factual

and practical considerations of everyday life on which reasonable and prudent men, not legal

technicians, act.’” Maryland v. Pringle, 540 U.S. 366, 370 (2003) (quoting Illinois v. Gates, 462

U.S. 213, 231 (1983)). In determining whether probable cause exists for an arrest, a reviewing

court must examine the totality of circumstances surrounding the arrest, Illinois v. Gates, 462

U.S. at 230-31, judged from “the perspective of a reasonable police officer in light of his training

and experience.” United States v. Delossantos, 536 F.3d at 159. Probable cause requires no




         3
            For instance, at another point during the hearing, Marx testified that a drug recognition expert performs
tests when a person is suspected of being impaired, as opposed to merely having an amount of a controlled substance
in his or her system. (Tr. 62). To the extent this testimony may be interpreted to suggest that a drug recognition
expert’s training and experience is not relevant to the probable cause analysis for a violation of the DUI metabolite
statute, such testimony conflicts with caselaw interpreting the statute. See State v. Hechtle, 89 P.3d 185, 190-91
(Utah Ct. App. 2004) (officer lacked probable cause to arrest defendant for violation of DUI metabolite statute in
part because officer neither performed field sobriety tests nor consulted drug recognition expert).

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more and no less than a “reasonable ground for belief of guilt.” Maryland v. Pringle, 540 U.S. at

371 (quoting Brinegar v. United States, 338 U.S. 160, 175 (1949)).

                Although an officer’s subjective state of mind is irrelevant to the probable cause

analysis, Zellner v. Summerlin, 494 F.3d 344, 369 (2d Cir. 2007), “[a]n officer’s experience and

training . . . are to be taken into account such that . . . ‘a trained and experienced officer will have

probable cause in circumstances when the layman would not’” United States v. $557,933.89,

More or Less, in United States Funds, 287 F.3d 66, 85 (2d Cir. 2002) (quoting 2 Wayne R.

LaFave, Search and Seizure § 3.2(c) (4th ed. 2004)). While the officer’s experience and training

is relevant to the probable cause analysis, the government bears the burden of establishing how

such experience and training “bears upon the facts which prompted the officer to arrest.” United

States v. Briggs, 517 F. App’x 582, 583 (9th Cir. 2013) (concluding that the government failed to

establish probable cause where “the government did not prove how, if at all, the officers’

experience contributed to any probable cause determination”) (internal quotation omitted);

United States v. Cervantes, 703 F.3d 1135, 1139-40 (9th Cir. 2012) (“[w]hile [the officer’s]

training and experience are factors to be considered, ‘it is incumbent upon the arresting or

searching officer to explain the nature of his expertise or experience and how it bears upon the

facts which prompted the officer to arrest or search’[;] . . . [c]onclusory statements and a general

claim of expertise will not suffice”) (quoting 2 LaFave, Search and Seizure § 3.2(c)) (internal

citation omitted); Rivera v. Murphy, 979 F.2d 259, 264 (1st Cir. 1992) (“[t]he experience and

training of a police officer are, of course, factors to be considered in the determination of

probable cause, but, the relevance [of such experience and training] in a particular case must be




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sufficiently conveyed so that ... it can be understood by the average reasonably prudent person”)

(internal quotation omitted) (alterations in original).

                 The government contends that it has established that Marx had probable cause to

arrest McAuley for violating Section 41-6a-517 of the Utah Code, which provides:

                 [A] person may not operate or be in actual physical control of a
                 motor vehicle within this state if the person has any measurable
                 controlled substance or metabolite of a controlled substance in the
                 person’s body.

Utah Code Annotated § 41-6a-517. According to the government, Marx’s observations of

McAuley’s dilated pupils, slurred speech and nervous behavior, coupled with the Brutons’ report

and Marx’s own training and experience, provided adequate probable cause to arrest McAuley

for violation of the Utah statute. Despite affording the government two opportunities to develop

the record in order to allow me to assess its proposition, the government chose to offer no

additional testimony. In the absence of any further evidence, I adhere to my view that the record

as it has been developed does not satisfy the government’s burden of proof.

                 First, as the Report and Recommendation noted, the record is devoid of any

testimony by Marx that his pre-search observations and information led him to believe that

McAuley was operating his vehicle with a measurable amount of controlled substance metabolite

in his system. Marx was not asked that question, and he did not address it. Rather, his testimony

was confined to the issue of probable cause to arrest based upon the discovery of the drugs and

McAuley’s verbal admissions during the search.4

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         Specifically, Marx provided the following response to the question, “What were the facts that led you to
charge McAuley with DUI metabolite”:

                          Based on his eyes being dilated. You know, talking to him,
                          then as a [drug recognition expert] you know either a stimulant

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                Moreover, even if such a conclusion could be inferred from Marx’s testimony, his

testimony does not explain how his training and experience as a drug recognition expert

informed such a conclusion. While he testified that dilated pupils may indicate drug use, he also

testified that dilated pupils and the other characteristics McAuley displayed may have benign

explanations. He admitted that McAuley did not seem to be impaired. Moreover, at one point in

his testimony, Marx even suggested that if he had discovered only the marijuana roach and not

the methamphetamine, he would have investigated further before deciding to arrest McAuley for

DUI metabolite. (Tr. 86). On this record, it was incumbent upon the government to explain

whether and, if so, why a drug recognition expert like Marx would have believed before

searching him that McAuley – even though he did not appear impaired – had a measurable

amount of controlled substance metabolite in his system. As this Court observed at the February

4 court appearance, it does not have the experience from which to make that conclusion. Again,

the Court invited additional testimony on that very issue. The government declined to offer it.

                As courts routinely acknowledge, drug recognition experts possess unique skills

designed to assist them in identifying whether, and to what extent, an individual may be under

the influence of a substance other than alcohol. See, e.g., Wheeler v. Lynn, 2012 WL 1833672,

*2 (W.D. Mo. 2012) (“[d]rug recognition experts check a suspect’s blood pressure, pulse, and

temperature because certain drugs cause the body to do things involuntarily”); Green v. Euler,

2010 WL 415309, *1 (M.D. Fla. 2010) (“[drug recognition expert] training includes evaluations



                       or marijuana is in his system based on his eyes. His behavior,
                       his admission that he would test positive, the drugs on scene.
                       Basically those things there.

         (Tr. 65).

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of a suspect’s eyes, their bodily movements and speech to appropriately detect and categorize

impairment from drugs”); United States v. Everett, 972 F. Supp. 1313, 1316-17 (D. Nev. 1997)

(drug recognition expert follows a twelve-step protocol that includes, inter alia, pulse readings;

eye examinations, including nystagmus and convergence tests; motor skills testing; blood

pressure and temperature readings; pupil measurements under various lighting conditions;

muscle rigidity examinations; and, interrogation). Marx did not testify concerning how any of his

training, experience or skills as a drug recognition expert led him to believe before the search

that McAuley had a measurable amount of controlled substance metabolite in his system.

Indeed, as stated earlier, Marx did not even testify if he believed before searching him that

McAuley had violated the DUI metabolite statute. Thus, this Court is unable to assess how

Marx’s training and experience informed his pre-search evaluation of McAuley. See United

States v. Ten Thousand Seven Hundred Dollars and No Cents in United States Currency, 258

F.3d 215, 231 (3d Cir. 2001) (concluding that test results “cannot be considered a factor

weighing in the government’s favor in the overall probable cause analysis” in the absence of

information in the record “sufficient . . . to guide [the court] in evaluating the evidentiary

significance of the test results”); United States v. Ho, 94 F.3d 932, 937-38 (5th Cir. 1996) (no

probable cause where “the government elicited almost no testimony from which to gauge the

extent of [the officer’s] knowledge and experience in the area of credit card fraud”); State v.

Hechtle, 89 P.3d at 190-91 (government may not establish probable cause unless it can show that

officer acted upon more than “mere suspicion” or “hunch” that suspect had measurable amount

of controlled substance in his body; “[e]ven if we were persuaded to accept the [government’s]

position that the condition of [defendant’s] eyes and tongue are presumptively suggestive of


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marijuana use, nothing in the record indicates either how long these conditions are sustained or

how long measurable quantities of marijuana remains in the system as required by the statute”).

               For these reasons, I find that the government has failed to establish that Marx had

probable cause to arrest McAuley on November 19, 2003 prior to the search. Accordingly, I

recommend that the district court suppress the methamphetamine seized during the search and

any statements made by McAuley during or after the search, including any post-arrest statements.



                                        CONCLUSION

               For the reasons stated above, I recommend that the district court grant McAuley’s

motion to suppress the methamphetamine seized on November 19, 2003. (Docket # 234). I

further recommend that the district court grant McAuley’s motion to suppress statements he

made on November 19, 2003 during or subsequent to the search of his person and subsequent to

his arrest.



                                                        s/Marian W. Payson
                                                               MARIAN W. PAYSON
                                                            United States Magistrate Judge

Dated: Rochester, New York
       March 19 , 2014




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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

         ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within fourteen (14) days after receipt of a copy of this Report and
Recommendation in accordance with the above statute and Rule 59(b) of the Local Rules of
Criminal Procedure for the Western District of New York.5

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec. Co., 840
F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Sec’y of Health & Human Servs., 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 59(b) of the Local Rules of Criminal
Procedure for the Western District of New York, “[w]ritten objections . . . shall specifically
identify the portions of the proposed findings and recommendations to which objection is made
and the basis for such objection and shall be supported by legal authority.” Failure to comply
with the provisions of Rule 59(b) may result in the District Court's refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.

                                                                   s/Marian W. Payson
                                                                          MARIAN W. PAYSON
                                                                       United States Magistrate Judge

Dated: Rochester, New York
       March 19 , 2014


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           Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(D)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the fourteen days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

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